933 F.2d 1001Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.William Ellis CHILDERS, Petitioner-Appellant,v.NORTH CAROLINA DEPARTMENT OF CORRECTIONS, Respondent-Appellee.
    No. 90-6441.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 17, 1991.Decided May 22, 1991.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  W. Earl Britt, District Judge.  (CA-88-785)
      William Ellis Childers, appellant pro se.
      Clarence Joe DelForge, III, Office of the Attorney General, Raleigh, N.C., for appellee.
      E.D.N.C.
      DISMISSED.
      Before DONALD RUSSELL, MURNAGHAN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      William Ellis Childers seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Childers v. North Carolina Dep't of Corrections, CA-88-785 (E.D.N.C. Nov. 26, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    